                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MISSOURI
                          SOUTHERN DIVISION


United States of America,                       )
                                  Plaintiff,    )
vs.                                             ) No. 04-3057-05-CR-W-FJG
Mark Walker,                                    )
                                  Defendant.    )

                                         ORDER
      Defendant’s motion for reconsideration of sentencing (Doc. #185, filed August

18, 2005) is denied. While defendant’s sentence may be inequitable given that received

by his co-defendants, the circumstances surrounding their sentences and his were

different. Plaintiff’s counsel has described those differences in the government’s

response in opposition to defendant Mark Walker’s motion for reconsideration of

sentencing (Doc. #198, filed August 31, 2005) and they will not be repeated here.

Additionally, defendant does not provide legal authority which would support the request

made. Defendant relies upon these provisions of 18 U.S.C. sec. 3553 which the Court

had considered at defendant’s sentencing. Federal Rules of Criminal Procedure 35

would not seem to apply here. The issue raised by defendant seems to be a collateral

attack on the sentence, and therefore, not properly before the Court.




                                                /s/Fernando J. Gaitan, Jr.
                                                United States District Judge
Dated: September 13, 2005
Kansas City, Missouri




      Case 6:04-cr-03057-FJG       Document 201      Filed 09/13/05     Page 1 of 1
